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IN THE UNITED STATES DISTRICT COURT
FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA 5:20-MJ-58

V. Magistrate Judge Saporito
THOMAS HARTLEY, 3

Defendant

ORDER

AND NOW, thisf day of October, 2020, IT IS HEREBY
ORDERED THAT a Preliminary Examination shall be conducted in
the above-captioned action on October 21, 2020, at 10:00 a.m. in the
Max Rosenn United States Courthouse, 197 South Main Street, Wilkes-

Barre, Pennsylvania, in Courtroom Number 1.

Gdsutn F. SA onité: JR.

United States Magistrate Judge

 
